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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES − GENERAL

 CASE NO.: 2:21−cv−03455−VAP−MAR                                     DATE: November 3, 2021

 TITLE:          United States of America v. $50,000.00 in U.S. Currency

 Present: The Honorable: VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE
                 Christine Chung                                   Not Reported
                  Deputy Clerk                                    Court Reporter
 ATTORNEYS PRESENT FOR PLAINTIFFS:               ATTORNEYS PRESENT FOR DEFENDANTS:

                   Not Present                                  Not Present

 Proceedings:       ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK OF
                       PROSECUTION (IN CHAMBERS)

     Plaintiff(s) is hereby ordered to show cause in writing by not later than November 10,
 2021 why this action should not be dismissed for lack of prosecution.
     The Court will consider the filing of the following as an appropriate response to this
 OSCause, on or before the above date:
            − Plaintiff's request for entry of default
            − Answer by the defendant(s) or responsive pleading
      In the event both documents are filed before the above date, the answer will take
 precedence.
       In accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15,
 no oral argument on this Order to Show Cause will be heard unless ordered by the Court. The
 Order will stand submitted upon the filing of the response to the Order to Show Cause. Failure
 to respond to the Court's Order will result in the dismissal of the action.




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                                                                       Initials of Preparer cch

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